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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                     BROWNSVILLE DIVISION

UNITED STATES OF AMERICA,                                  §
                                                           §
           Plaintiff,                                      §
                                                           §
v.                                                         §
                                                           §            Case No. 1:17-cv-088
1.2065 ACRES OF LAND, MORE OR                              §
LESS SITUATED IN CAMERON                                   §
COUNTY, STATE OF TEXAS; DANIEL                             §
CORONADO AVALOS, ET AL.,                                   §
                                                           §
           Defendants.                                     §

                         Second Status Report by the United States of America

           The United States initiated this action on April 24, 2017, for the taking of interests in real

property identified as (a) Tract RGV-BRP-T1019, which consists of 0.1090 acres for the placement

of a surveillance tower, and (b) Tract RGV-BRP-T1019E, which is a permanent road easement to

allow the United States to access Tract RGV-BRP-T1019. Thereafter, Daniel Coronado Avalos,

owner of the parent tract from which these interests were taken, requested that the United States

move the placement of Tract RGV-BRP-T1019E to minimize the adverse impact that the taking

would have on his remaining land. The United States agreed to do this, and on April 23, 2018, the

United States filed an amended complaint and amended declaration of taking. [Doc. Nos. 17 and

18].

           The parties have reached an agreement to resolve this matter, and the attached letter

memorializes the parties’ agreement. 1




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    Abel and Lidia Longoria sold the real property to Daniel Coronado Avalos and maintain a vendor’s lien.

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       The agreement between the parties requires that the United States revest a small interest in

the original description of Tract RGV-BRP-T1019E to Daniel Coronado Avalos. Unfortunately,

it has taken longer than expected to complete drafting the documents necessary to effectuate this

revestment. The United States has completed a draft of these documents, but they are current in

the process of internal review before the United States can send them to Daniel Coronado Avalos

for signature.

       The United States requests that the Court continue the initial status conference to sometime

after December 1, 2018. The United States hopes this will be adequate time to (a) complete the

internal review of the documents necessary to accomplish the revestment, (b) send the documents

to Daniel Coronado Avalos for signature, (c) receive signature pages from Daniel Coronado

Avalos, and (d) file the fully-executed documents with the Court.

       Dated: September 17, 2018.

                                                    Respectfully submitted,

                                                    RYAN K. PATRICK,
                                                    United States Attorney

                                             By:     s/ Richard A. Kincheloe
                                                    Richard A. Kincheloe
                                                    Assistant United States Attorney
                                                    Attorney-in-Charge
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                                    Certificate of Service

       The undersigned certifies that he served a true and correct copy of the foregoing Status
Report on the parties remaining in the above-captioned case by first-class U.S. mail, postage
prepaid, on September 17, 2018.

                                                   s/ Richard A. Kincheloe
                                                   Richard A. Kincheloe
                                                   Assistant United States Attorney




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